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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

 ARTHUR GOBER, Individually and on                 )
 Behalf of All Others Similarly Situated,          )
                                                   )
                        Plaintiff,                 )
                                                   )
        v.                                         )
                                                   )   Civil Action No. ___________
 SPRINT CORPORATION, RAUL                          )
 MARCELO CLAURE, MICHEL COMBES,                    )   CLASS ACTION COMPLAINT FOR
 GORDON M. BETHUNE, PATRICK T.                     )   VIOLATION OF THE SECURITIES
 DOYLE, RONALD D. FISHER, JULIUS                   )   EXCHANGE ACT OF 1934
 GENACHOWSKI, STEPHEN R. KAPPAS,                   )
 ADMIRAL MICHAEL G. MULLEN,                        )   JURY TRIAL DEMANDED
 MASAYOSHI SON, and SARA MARTINEZ                  )
 TUCKER,                                           )
                                                   )
                        Defendants.                )
                                                   )

                                     PLAINTIFF’S COMPLAINT

       Plaintiff, Arthur Gober (“Plaintiff”), by and through his attorneys, alleges the following on

information and belief, except as to the allegations specifically pertaining to Plaintiff, which are

based on personal knowledge.

                                     NATURE OF THE ACTION

       1.      This action stems from a proposed transaction (the “Proposed Transaction” or

“Merger”) announced on April 29, 2018, pursuant to which Sprint Corporation (“Sprint” or the

“Company”) will be acquired by T-Mobile US, Inc. (“T-Mobile”).

       2.      On April 29, 2018, the Company’s Board of Directors (the “Board” or the

“Individual Defendants”) caused the Company to enter into a Business Combination Agreement

(the “Merger Agreement”) with T-Mobile, Huron Merger Sub LLC (“T-Mobile Merger

Company”); Superior Merger Sub Corporation, a wholly owned subsidiary of T-Mobile Merger
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Company (“Merger Sub”); Starburst I, Inc. (“Starburst”), Galaxy Investment Holdings, Inc.

(“Galaxy,” and together with Starburst, the “SoftBank US HoldCos”), Deutsche Telekom AG

(“Deutsche Telekom”), Deutsche Telekom Holding B.V., (“DT Holdings”) and SoftBank Group

Corp. (“SoftBank”). Under the terms of the Proposed Transaction, T-Mobile will acquire each

issued and outstanding share of Sprint common stock in an all-stock transaction at a fixed exchange

ratio of 0.10256 T-Mobile shares for each Sprint share or the equivalent of 9.75 Sprint shares for

each T-Mobile share (the “Merger Consideration”). The implied offer price per share of the

Merger Consideration is $6.62 per Sprint share. The Proposed Transaction has an implied

enterprise value of approximately $59 billion. Upon completion of the Merger, the combined

company will be named T-Mobile.

       3.      On April 30, 2018, the Company filed a Form 8-K with the SEC detailing the

Proposed Transaction, and included the Merger Agreement dated April 29, 2018.

       4.      On July 30, 2018, Defendants (as defined below) caused a preliminary proxy

statement on Form S-4 (the “Proxy”) to be filed with the United States Securities and Exchange

Commission (“SEC”) in connection with the Proposed Transaction. As described herein, the

Proxy omits certain material information with respect to the Proposed Transaction, which renders

it false and misleading, in violation of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 140.14a-

9 (“Rule 14a-9”) promulgated thereunder.

       5.      Plaintiff seeks to enjoin Defendants from taking any steps to consummate the

Proposed Transaction or, in the event the Proposed Transaction is consummated, to recover

damages resulting from Defendants’ wrongdoing described herein.




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                                 JURISDICTION AND VENUE

         6.    This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

         7.    This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains operations

within, this District, or is an individual who is either present in this District for jurisdictional

purposes or has sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

         8.    Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

         9.    Plaintiff is, and has been at all times relevant hereto, an owner of Sprint common

stock.

         10.   Defendant Sprint is a Delaware corporation, with its principal executive offices

located in Overland Park, Kansas. Sprint common stock is listed on the New York Stock Exchange

(“NYSE”) under the symbol “S.”

         11.   Defendant Raul Marcelo Claure has served as a member of the Company’s Board

since January 2014, and has served as the Executive Chairman since May 31, 2018. Previously,

Claure served as President from August 2014 until January 2018 and as Chief Executive Officer

(“CEO”) from August 2014 until May 2018. Claure serves as Chief Operating Officer of SoftBank

Group Corp. (“SoftBank”) and as CEO of SoftBank Group International. Claure has served as a




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director of SoftBank since June 2017 and currently serves as a director of Arm Holdings plc, a

subsidiary of SoftBank.

       12.     Defendant Michel Combes has served as a director on the Board and as Sprint’s

President since January 2018, and as CEO since May 31, 2018. Combes served as Sprint’s Chief

Financial Officer from January 2018 through May 2018.

       13.     Defendant Gordon M. Bethune has served as a Board member since 2004.

       14.     Defendant Patrick T. Doyle has served as a Board member since 2016.

       15.     Defendant Ronald D. Fisher has served as the Vice Chairman of the Board and a

Board member since 2013.

       16.     Defendant Julius Genachowski has served as a Board member since 2015.

       17.     Defendant Stephen R. Kappes has served as a Board member since May 2018.

       18.     Defendant Admiral Michael G. Mullen has served as a Board member since 2013.

       19.     Defendant Masayoshi Son has served as a Board member since 2013. Son has been

the CEO and Chairman of the Board of SoftBank since February 1986. Son founded SoftBank in

September 1981. Son served as the President of SoftBank from February 1986 through June 2015.

       20.      Defendant Sara Martinez Tucker has served as a Board member since 2013.

       21.     The defendants listed in ¶¶ 11-20 are collectively referred to herein as the

“Individual Defendants.”

       22.     The Individual Defendants and Sprint are referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

       23.     According to the Company’s Form 10-K for the year ended December 31, 2017,

Sprint is a large wireless communications company in the United States, offering “wireless and

wireline services to subscribers in all 50 states, Puerto Rico and the U.S. Virgin Islands under the

Sprint corporate brand which includes its retail brands of Sprint, Boost Mobile, Virgin Mobile and


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Assurance Wireless on” its “wireless networks utilizing various technologies including third

generation (3G) code division multiple access (CDMA), and fourth generation (4G) services

utilizing Long Term Evolution (LTE).”

       24.     On April 29, 2018, Sprint and T-Mobile issued a press release announcing that they

had entered into a definitive agreement where Sprint will be acquired by T-Mobile in an all-stock

transaction. Specifically, Sprint shareholders will receive 0.10256 T-Mobile shares for each Sprint

share or the equivalent of 9.75 Sprint shares for each T-Mobile share. The implied offer price per

share of the Merger Consideration is $6.62 per Sprint share. The press release further stated, in

relevant part, the following:

       T-Mobile US (NASDAQ: TMUS) and Sprint Corporation (NYSE: S) today
       announced they have entered into a definitive agreement to merge in an all-stock
       transaction at a fixed exchange ratio of 0.10256 T-Mobile shares for each Sprint
       share or the equivalent of 9.75 Sprint shares for each T-Mobile US share. Based on
       closing share prices on April 27, this represents a total implied enterprise value of
       approximately $59 billion for Sprint and approximately $146 billion for the
       combined company. The new company will have a strong closing balance sheet and
       a fully funded business plan with a strong foundation of secured investment grade
       debt at close.

       The combined company will be named T-Mobile, and it will be a force for positive
       change in the U.S. wireless, video, and broadband industries. The combination of
       spectrum holdings, resulting network scale, and expected run rate cost synergies of
       $6+ billion, representing a net present value (NPV) of $43+ billion will supercharge
       T-Mobile’s Un-carrier strategy to disrupt the marketplace and lay the foundation
       for U.S. companies and innovators to lead in the 5G era.

       The New T-Mobile will have the network capacity to rapidly create a nationwide
       5G network with the breadth and depth needed to enable U.S. firms and
       entrepreneurs to continue to lead the world in the coming 5G era, as U.S. companies
       did in 4G. The new company will be able to light up a broad and deep 5G network
       faster than either company could separately. T-Mobile deployed nationwide LTE
       twice as fast as Verizon and three times faster than AT&T, and the combined
       company is positioned to do the same in 5G with deep spectrum assets and network
       capacity.
       The combined company will have lower costs, greater economies of scale, and the
       resources to provide U.S. consumers and businesses with lower prices, better
       quality, unmatched value, and greater competition. The New T-Mobile will employ



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more people than both companies separately and create thousands of new American
jobs.

Following closing, the new company will be headquartered in Bellevue, Wash.,
with a second headquarters in Overland Park, Kan. John Legere, current President
and Chief Executive Officer of T-Mobile US and the creator of T-Mobile’s
successful Un-carrier strategy, will serve as Chief Executive Officer, and Mike
Sievert, current Chief Operating Officer of T-Mobile, will serve as President and
Chief Operating Officer of the combined company. The remaining members of the
new management team will be selected from both companies during the closing
period. Tim Höttges, current T-Mobile US Chairman of the Board, will serve as
Chairman of the Board for the new company. Masayoshi Son, current SoftBank
Group Chairman and CEO, and Marcelo Claure, current Chief Executive Officer
of Sprint, will serve on the board of the new company.

“This combination will create a fierce competitor with the network scale to deliver
more for consumers and businesses in the form of lower prices, more innovation,
and a second-to-none network experience – and do it all so much faster than either
company could on its own,” said John Legere. “As industry lines blur and we enter
the 5G era, consumers and businesses need a company with the disruptive culture
and capabilities to force positive change on their behalf.”

“The combination of these two dynamic companies can only benefit the U.S.
consumer. Both Sprint and T-Mobile have similar DNA and have eliminated
confusing rate plans, converging into one rate plan: Unlimited,” said Marcelo
Claure. “We intend to bring this same competitive disruption as we look to build
the world’s best 5G network that will make the U.S. a hotbed for innovation and
will redefine the way consumers live and work across the U.S., including in rural
America. As we do this, we will force our competitors to follow suit, as they always
do, which will benefit the entire country. I am confident this combination will spur
job creation and ensure opportunities for Sprint employees as part of a larger,
stronger combined organization, and I am thrilled that Kansas City will be a second
headquarters for the merged company.”

It is critically important that America and American companies lead in the 5G era.
Early U.S. leadership in 4G fueled a wave of American innovation and
entrepreneurship that gave rise to today’s global mobile Internet leaders, creating
billions in economic value and job growth. America’s early 4G leadership is
credited with creating 1.5 million jobs and adding billions to the U.S. GDP. With
5G, the stakes are even higher – because 5G will be even more transformational.
Only the combined company will have the network capacity required to quickly
create a broad and deep 5G nationwide network in the critical first years of the 5G
innovation cycle – the years that will determine if American firms lead or follow in
the 5G digital economy. With Sprint’s expansive 2.5 GHz spectrum, T-Mobile’s
nationwide 600 MHz spectrum, and other combined assets, the New T-Mobile
plans to create the highest capacity mobile network in U.S. history. Compared to



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T-Mobile’s network today, the combined company’s network is expected to deliver
15x faster speeds on average nationwide by 2024, with many customers
experiencing up to 100x faster speeds than early 4G.

Neither company standing alone can create a nationwide 5G network with the
breadth and depth required to fuel the next wave of mobile Internet innovation in
the U.S. and answer competitive challenges from abroad.

Neither can AT&T and Verizon in the near term, even though they will still
respectively own 34% and 172% more spectrum than the combined company. Even
with their vast resources, AT&T and Verizon cannot rapidly build nationwide 5G
and their planned 5G networks will only be available sporadically in just a handful
of very limited areas. To build nationwide 5G, they either have to kick current
customers off LTE, which would take years, or use a type of spectrum (millimeter
wave) that can only carry a signal 2,000 feet from a cell site – versus multiple miles
for other spectrum – making it nearly impossible for either of them to create a truly
nationwide 5G network quickly.

Ubiquitous high-speed 5G service and Internet of Things (“IoT”) capabilities will
ignite innovation across industries and create the conditions for U.S. firms and
innovators to lead the globe in the 5G era.

“Going from 4G to 5G is like going from black and white to color TV,” added
Claure. “It’s a seismic shift – one that only the combined company can unlock
nationwide to fuel the next wave of mobile innovation.”

5G for All will unleash incredible benefits and capabilities for consumers and
businesses. Imagine, for example, augmented reality heads-up displays that see
everything you do, and provide real-time cloud-driven information about the people
and objects around you. Imagine never losing anything again because low-cost
sensors with decade long battery life are embedded in everything you own. Imagine
an earpiece providing real-time translation as a friend speaks to you in another
language. Imagine environmental sensors in infrastructure and for agriculture
having a profound impact on productivity.

Shifting the Un-carrier Strategy Into Overdrive – Reducing Prices and
Driving More Competition

The new company expects prices to drop as competition heats up. The New T-
Mobile will have lower costs, greater economies of scale, and unprecedented
network capacity – a winning combination that should make wireless, and adjacent
industries like cable and broadband, more affordable for everyone.
The combination will dramatically accelerate T-Mobile’s successful Un-carrier
strategy, which is built around listening to customers and solving their pain points.
It will also leverage Sprint’s incredible spectrum assets and strong DNA.




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The deal will create more competition and unmatched value for customers across
the country. And, existing T-Mobile and Sprint customers will benefit from
increased speeds, coverage, and performance as the two companies’ networks
combine.

Wireless, broadband, and video markets are rapidly converging. AT&T is now the
largest TV provider in the country. Comcast added more wireless phone customers
last year than AT&T and Verizon combined, and Charter is launching wireless this
year. And, more than 1 in 10 Americans (12%) use wireless as their only Internet
or broadband connection, freeing themselves from the grip of the traditional,
uncompetitive in-home broadband providers.

“This isn’t a case of going from 4 to 3 wireless companies – there are now at least
7 or 8 big competitors in this converging market. And in 5G, we’ll go from 0 to 1.
Only the New T-Mobile will have the capacity to deliver real, nationwide 5G,”
added Legere. “We’re confident that, once regulators see the compelling benefits,
they’ll agree this is the right move at the right time for consumers and the country.”
In this rapidly converging marketplace, the new company will bring more choice
and competition – for all consumers, including three key underserved areas:

•      Rural communities. Rural Americans seldom have a choice of more than
one or two wireless, broadband, or cable providers. The New T-Mobile will end
that with increased reach and plans to open hundreds of new stores in rural
communities, creating thousands of new jobs. Millions of Americans in rural
communities will have more choice and competition, where they may have none
today.

•      Broadband. 51% of Americans have only one high-speed broadband option
– no choice at all! The combined company will create a viable alternative for
millions by enabling mobile connections that rival broadband, driving prices lower
and improving service.

•      Business and government wireless services. Today, Verizon and AT&T
dominate this category with 4x more customers than Sprint and T-Mobile added
together. With its assets and capabilities, the new company will unlock real
competition for business and government customers.

Driving Significant U.S. Job Growth

From the first day Sprint and T-Mobile combine and every year thereafter, the new
company will employ more people in the U.S. than both companies would
separately. More than 200,000 people will work on behalf of the combined
company in the U.S. at the start. And, the New T-Mobile plans to invest up to $40
billion in its new network and business in the first three years alone, a massive
capital outlay that will fuel job growth at the new company and across related




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sectors. This is 46% more than T-Mobile and Sprint spent combined in the past
three years.

This combination will also force AT&T, Charter, Comcast, Verizon, and others to
make investments of their own to compete, driving billions more in accelerated
investment.

Five years ago, T-Mobile merged with MetroPCS to compete in the 4G era – a
transaction that has resulted in substantial job growth. Three times the number of
people work on MetroPCS today compared to the time of the acquisition in 2013.
With that track record, the New T-Mobile will accelerate long-term economic
stimulus for the U.S. in the 5G era -- ultimately leading to the creation of thousands
of American jobs and supporting business opportunities for the U.S. economy.
5G is expected to create 3 million new U.S. jobs and $500 billion in economic
growth by 2024, according to a report from CTIA, and the combined company will
be a catalyst in driving that massive economic stimulus.

Transaction Details and Financial Profile

The new company expects to create substantial value for T-Mobile and Sprint
shareholders through an expected $6+ billion in run rate cost synergies,
representing a net present value (NPV) of $43+ billion, net of expected costs to
achieve such cost synergies. This transaction will also enhance the financial
position of the combined company. Highlights include:
•       Pro Forma 2018E Service Revenue 1 of $53-57 billion
•       Pro Forma 2018E Adjusted EBITDA1,2 of $22-23 billion
•       Pro Forma 2018E Adjusted EBITDA1,2 Margin of 40-42% with a longer-
        term target of 54-57%
•       Pro Forma 2018E Net Debt3 of $63-65 billion with a streamlined single-silo
        corporate debt structure
•       Fully funded business plan with significant liquidity at close

The Boards of Directors of T-Mobile and Sprint have approved the transaction.
Deutsche Telekom and SoftBank Group are expected to hold approximately 42%
and 27% of diluted economic ownership of the combined company, respectively,
with the remaining approximately 31% held by the public. The Board will consist
of 14 directors, 9 nominated by Deutsche Telekom and 4 nominated by SoftBank
Group, including Masayoshi Son, Chairman and CEO of SoftBank Group, and
Marcelo Claure, CEO of Sprint. John Legere, CEO of the New T-Mobile, will also
serve as a director. Upon consummation of the transaction, the combined company
is expected to trade under the (TMUS) symbol on the NASDAQ.
The new company will have some of the most iconic brands in wireless – T-Mobile,
Sprint, MetroPCS, Boost Mobile, Virgin Mobile – and will determine brand
strategy after the transaction closes.




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       The transaction is subject to customary closing conditions, including regulatory
       approvals. The transaction is expected to close no later than the first half of 2019.

       Advisors

       PJT Partners is acting as financial advisor to T-Mobile and rendered a fairness
       opinion to its Board of Directors. Goldman Sachs is acting as financial advisor to
       Deutsche Telekom and T-Mobile and rendered a fairness opinion to the T-Mobile
       Board of Directors. Deutsche Bank also acted as financial advisor to T-Mobile.
       Wachtell, Lipton, Rosen & Katz is providing legal counsel to T-Mobile and
       Deutsche Telekom, with Cleary Gottlieb and DLA Piper serving as regulatory
       counsel. Raine is acting as financial advisor to a committee of independent directors
       of T-Mobile and rendered a fairness opinion, and Latham & Watkins is providing
       legal counsel to the committee of independent directors. Richards, Layton and
       Finger is serving as Delaware Counsel. Morgan Stanley served as financial advisor
       to Deutsche Telekom. Barclays, J.P. Morgan, Deutsche Bank, Goldman Sachs,
       Morgan Stanley, and RBC are providing T-Mobile with committed debt financing
       to support the transaction, and PJT Partners is advising T-Mobile on the debt
       financing associated with the transaction.

       The Raine Group LLC is acting as lead financial advisor to Sprint. J.P. Morgan is
       also acting as a financial advisor to Sprint. Centerview Partners LLC is acting as
       financial advisor to the Independent Transaction Committee of the Board of
       Directors of Sprint. The Raine Group LLC, J.P. Morgan and Centerview Partners
       LLC each rendered fairness opinions to the Board of Directors of Sprint. Morrison
       & Foerster LLP is lead legal counsel to Sprint and for SoftBank Group. Goodwin
       Procter LLP is legal counsel to the Independent Transaction Committee of the
       Board of Directors of Sprint. Skadden, Arps, Slate, Meagher & Flom LLP is
       regulatory co-counsel and Potter Anderson Corroon LLP is Delaware
       Counsel. Mizuho Securities Co., Ltd. and SMBC Nikko Securities Inc.
       are acting as financial advisors to SoftBank Group.

       25.    The $6.62 per share all stock offer price has only a 1.8% premium to Sprint’s

closing price of $6.50 per share on April 27, 2018. The $6.62 per share all stock offer price is

significantly below Sprint’s 52-week high stock price of $9.11 per share on May 11, 2017; below

Sprint’s 52-week average stock price of $6.84 per share; and below the price target of $7.00 per

share for Sprint in April 2018 by at least three analysts, New Street Research; Evercore ISI; and

Wells Fargo Securities.




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       26.     In soliciting shareholder approval for the Proposed Transaction, the Proxy purports

to contain a summary and overview of the Proposed Transaction, but omits certain critical

information, rendering portions of the Proxy materially incomplete and/or misleading, in violation

of the Exchange Act provisions discussed herein. As a result, Sprint shareholders lack material

information necessary to allow them to make an informed decision concerning whether to vote in

favor of the Merger.

       27.     Although T-Mobile’s forecasts cover the quarter ended March 31, 2018 through

2026E, and are purportedly summarized on pages 153-157 of the Proxy, those forecasts are

materially incomplete in that they fail to disclose line items used to calculate: (i) earnings before

interest, taxes, depreciation and amortization (“EBITDA”); (ii) adjusted EBITDA; and (iii)

unlevered free cash flow and fail to reconcile non-GAAP to GAAP metrics.

       28.     Although Sprint’s forecasts cover 2018E through 2022E and are purportedly

summarized on pages 158-162 of the Proxy, those forecasts are materially incomplete in that they

fail to disclose line items used to calculate: (i) EBITDA; (ii) adjusted EBITDA; and (iii) levered

free cash flow and fail to reconcile non-GAAP to GAAP metrics. Additionally, the T-Mobile

management Sprint forecasts that cover the quarter ended March 31, 2018, through 2026E are also

materially incomplete in that they fail to disclose a reconciliation of non-GAAP to GAAP figures.

Sprint’s Financial Advisors

       29.     In particular, the Proxy contains materially incomplete and/or misleading

information concerning, inter alia: the financial analyses performed by the Company’s financial

advisors, Raine Securities LLC (“Raine”); and J.P. Morgan Securities LLC (“J.P. Morgan”), in

support of their fairness opinions. As part of Raine’s fairness opinion, Raine reviewed, among

other things, “certain additional financial other information regarding the business, operations and




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future prospects of Sprint, which was furnished to us by Sprint, including certain financial

projections (the ‘Sprint Projections’) prepared by the management of Sprint;” “certain additional

financial and other information regarding the business, operations, and future prospects of T-

Mobile, which was furnished to us by T-Mobile, including certain financial projections (the ‘T-

Mobile Projections’) prepared by the management of T-Mobile;” and “certain financial

information of a proforma combined entity, including associated synergies that may result from

the Merger, pursuant to projections jointly prepared by the managements of T-Mobile and Sprint.”

Proxy at K-1; 2. As part of J.P. Morgan’s fairness opinion, J.P. Morgan reviewed, among other

things, “certain internal financial analyses and forecasts prepared by or at the direction of the

managements of the Company and [T-Mobile] relating to their respective businesses” Proxy at L-

1.

       Raine Securities LLC

       30.     The Proxy states that in rendering its fairness opinion, Raine “performed a

discounted cash flow analysis of Sprint’s projected unlevered free cash flows based on the Sprint

management Sprint forecasts and the adjusted Sprint management Sprint forecasts for the calendar

years 2018 and 2022.” Proxy at 125. However, the two Sprint forecasts only disclosed levered

free cash flow and there was no line item detail for levered free cash flow. The Proxy should have

disclosed the unlevered free cash flows that formed the basis for this analysis, including line item

details, and the line item detail for the levered free cash flow, including, for both, projected EBIT,

cash taxes, depreciation and amortization, capital expenditures, and changes in working capital, so

that shareholders can make their own determination as to the reliability of this valuation. Also,

while the Proxy discloses that Raine utilized an “assumed perpetuity growth rates ranging from

0.0% to 1.00%,” the Proxy fails to disclose the basis for perpetuity growth rates. Proxy at 125. In




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addition, the Proxy fails to disclose the inputs used to calculate the weighted average cost of capital

(“WACC”) ranging from 7.00% to 8.00%. Proxy at 125. While Sprint’s net operating losses

(“NOLs”) were incorporated into the analysis, the Proxy also fails to disclose Sprint’s annual NOL

figures used in the analysis.

       31.     With respect to Raine’s Precedent Transactions Analysis, “Raine reviewed and

compared certain financial information relating to the merger with corresponding financial

information of seven selected other transactions announced between June 2008 and September

2013.” Proxy at 126. However, the Proxy fails to disclose the multiples of each of the seven

selected precedent transactions.

       32.     Raine’s DCF analysis of T-Mobile’s projected unlevered free cash flow was based

on T-Mobile’s forecasts for the calendar years 2018 through 2022. Specifically, “Raine calculated

the discounted cash flow value per share of T-Mobile common stock using discount rates ranging

from 6.50% to 7.50%.” Proxy at 128. While the DCF analysis was based on unlevered free cash

flow, the Proxy fails to disclose any line item detail for this unlevered free cash flow. The Proxy

should have disclosed these line items, including projected EBIT, cash taxes, depreciation and

amortization, capital expenditures, and changes in working capital, so that shareholders can make

their own determination as to the reliability of this valuation. Also, while the Proxy does disclose

that Raine utilized an “assumed perpetuity growth rates ranging from 0.0% to 1.00%,” the Proxy

fails to disclose the basis for perpetuity growth rates. Id. In addition, the Proxy fails to disclose

the inputs used to calculate the WACC ranging from 6.50% to 7.50%. While T-Mobile’s NOLs

were incorporated into the analysis, the Proxy also fails to disclose T-Mobile’s annual NOL figures

used in the analysis.




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       33.     Raine also “performed a discounted cash flow analysis of the combined company

based on the Sprint management Sprint forecasts, the adjusted Sprint management Sprint forecasts,

the T-Mobile management T-Mobile forecasts and the estimated synergies.” Proxy at 129.

However, the Proxy fails to disclose the same items as discussed above. See ¶¶ 30; 32. In addition,

while synergies were incorporated into the Illustrative DCF Analysis, but the Proxy fails to

disclose the annual synergy figures. As part of the Illustrative DCF Analysis, Raine also conducted

a Pro Forma Comparison by performing “a discounted cash flow analysis of the combined

company’s projected unlevered free cash flows based on the combined company forecasts.” Proxy

at 130. However, the Proxy fails to disclose Sprint’s unlevered free cash flows and any line item

detail for T-Mobile’s unlevered free cash flow. See ¶¶ 30; 32.

       34.     With respect to Raine’s Analysts’ Price Targets, which was done for informational

purposes, Raine reviewed “equity research analysts’ 12-month share price targets for Sprint

common stock and T-Mobile common stock.” Proxy at 130. However, the Proxy fails to disclose

the names of the research firms and their respective price targets.        While the Company’s

shareholders could, potentially, do research on their own to determine this information, the

shareholders should not have to undertake this significant project merely to obtain this material

information, which the Company already has readily available. Further, the Proxy fails to disclose

the mean and median price targets for T-Mobile and Sprint, separately.

       35.     With respect to Raine’s Premiums Paid Analysis which was done for informational

purposes, Raine “applied a range of illustrative acquisition premium of 15% to 30% to the

unaffected per share price of Sprint common stock as of April 9, 2018, which resulted in prices

that ranged from $5.91 to $6.68.” Proxy at 131. However, the Proxy fails to disclose how that

range was derived.




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       J.P. Morgan Securities LLC

       36.      With respect to the Selected Public Trading Multiples Analysis performed by J.P.

Morgan on Sprint and T-Mobile, one metric was based on 2018E adjusted cash EBITDA, but that

figure was not disclosed for Sprint or T-Mobile.

       37.      J.P. Morgan’s DCF Analysis of Sprint was based on Sprint’s unlevered free cash

flows for the calendar years 2018 through 2022, but only levered free cash flow was disclosed,

and the Proxy fails to disclose any line item detail for unlevered free cash flow. Also, the Proxy

fails to disclose any information about the inputs that were used to calculate the WACC from

6.50% to 7.50%. While Sprint’s NOLs were incorporated into the analysis, the Proxy fails to

disclose Sprint’s annual NOL figures used in the analysis. Proxy at 136.

       38.      J.P. Morgan’s DCF Analysis of T-Mobile was based on T-Mobile’s unlevered free

cash flows for the calendar years 2018 through 2022. Again, the Proxy fails to disclose any line

item detail for unlevered free cash flow. Also, the Proxy fails to disclose any information about

the inputs that were used to calculate the WACC from 6.50% to 7.50%. While T-Mobile’s NOLs

were incorporated into the analysis, the Proxy fails to disclose T-Mobile’s annual NOL figures

used in the analysis. Proxy at 140.

       39.      With respect to J.P. Morgan’s Selected Transaction Analysis, J.P. Morgan

examined selected transactions with respect to seven selected companies engaged in businesses

analogous to Sprint. However, the Proxy fails to disclose the multiples of each of the selected

transactions.

       40.      For reference purposes, J.P. Morgan also performed analyses of Analyst Price

Targets for Sprint and T-Mobile. However, the Proxy fails to disclose the analysts’ price targets

for either company.




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       41.     J.P. Morgan also “conducted an implied intrinsic value creation analysis, based on

the Sprint management Sprint forecasts and the T-Mobile management T-Mobile forecasts, that

compared the implied equity value of Sprint common stock and T-Mobile common stock derived

from a discounted cash flow valuation on a standalone basis to the pro forma combined company

implied equity value, taking into account the estimated synergies.” Proxy at 141. However, the

Proxy fails to disclose the same items as discussed above. See ¶¶ 37; 38. In addition, while

synergies were incorporated into the Intrinsic Value Creation Analysis, the Proxy fails to disclose

the annual synergy figures. As part of the Intrinsic Value Creation Analysis, J.P. Morgan also

“conducted an implied value creation analysis based on the adjusted Sprint management Sprint

forecasts and the T-Mobile management T-Mobile forecasts.” However, the Proxy fails to disclose

the same items as discussed above. See ¶¶ 37; 38. Next, J.P. Morgan “created hypothetical

incremental implied value to the holders of Sprint common stock.” Proxy at 141. Proxy at

However, the Proxy fails to disclose the range of the implied values.

       Centerview Partners LLC

       42.     The Proxy contains materially incomplete and/or misleading information

concerning, inter alia: the financial analyses performed by Centerview Partners LLC

(“Centerview”), acting as the financial advisor to Sprint’s independent committee. As part of

Centerview’s fairness opinion, Centerview reviewed, among other things, “certain internal

information relating to the business, operations, earnings, cash flow, assets, liabilities and

prospects of Sprint, including certain financial forecasts, analyses and projections relating to Sprint

prepared by management of Sprint and furnished to us by Sprint for purposes of our analysis (the

‘Sprint Forecasts’);” “certain internal information relating to the business, operations, earnings,

cash flow, assets, liabilities and prospects of T-Mobile, including certain financial forecasts,




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analyses and projections relating to T-Mobile prepared by management of T-Mobile and furnished

to us by Sprint for purposes of our analysis (the ‘T-Mobile Forecasts’);” and “certain pro forma

forecasts, including tax and other cost savings and operating synergies projected by the

management of T-Mobile and Sprint to result from the Transaction furnished to us by Sprint for

purposes of our analysis (the ‘Synergies’).” Proxy at M-2.

       43.     With respect to Centerview’s DCF Analysis for Sprint, the analysis was based on

Sprint’s unlevered free cash flows for the calendar years 2018 through 2022. Again, the Proxy

fails to disclose any line item detail. Also, the Proxy fails to disclose the basis for the perpetuity

growth rates ranging from “(1) 1.0% to 2.0% based on the Sprint management Sprint forecasts and

(2) 0.75% to 1.75% based on the adjusted Sprint management Sprint forecasts.” Proxy at 150. In

addition, the Proxy fails to disclose the basis for the inputs that were used to calculate the WACC

ranging from 7.25% to 8.25%. While Sprint’s NOLs were incorporated into the analysis, the Proxy

fails to disclose Sprint’s annual figures used in the analysis. Proxy at 150.

       44.     With respect to Centerview’s DCF Analysis for T-Mobile, the analysis was based

on T-Mobile’s unlevered free cash flows for the calendar years 2018 through 2022. Again, the

Proxy fails to disclose any line item detail for unlevered free cash flow. Also, the Proxy fails to

disclose the basis for the perpetuity growth rates ranging from 1.0% to 2.0%. In addition, the

Proxy fails to disclose the basis for the inputs that were used to calculate the WACC ranging from

6.50 to 7.50%. While T-Mobile’s NOLs were incorporated into the analysis, the Proxy fails to

disclose T-Mobile’s annual NOL figures used in the analysis. Proxy at 150.

T-Mobile

       45.     The Proxy also contains materially incomplete and/or misleading information

concerning, inter alia: the financial analyses performed by T-Mobile’s financial advisors, PJT




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Partners LP (“PJT”); and Goldman Sachs & Co. LLC (“Goldman”), in support of their fairness

opinions. As part of PJT’s fairness opinion, PJT reviewed, among other things, “certain internal

financial analyses, estimates and forecasts relating to [T-Mobile], including projections for the [T-

Mobile’s] fiscal years 2018 through 2026, that were prepared by or at the direction of and approved

and furnished to us by the management of” T-Mobile (the “T-Mobile Projections”); “certain

financial analyses, estimates and forecasts relating to Sprint, including (a) projections for calendar

years 2018 through 2022 that were prepared by the management of Sprint and approved for our

use and furnished to us by the management of [T-Mobile] (the ‘Sprint Projections’) and (b)

projections for calendar years 2018 through 2026 that were prepared by or at the direction of and

approved and furnished to us by the management of” T-Mobile (the “T-Mobile Management Sprint

Projections”). Proxy at H-1; 2. As part of Goldman’s fairness opinion, Goldman reviewed, among

other things, “certain internal financial analyses and forecasts for Sprint prepared by its

management; and certain internal financial analyses and forecasts for [T-Mobile] on a stand-alone

basis and on a pro-forma basis giving effect to the Transaction and certain financial analyses and

forecasts for Sprint, in each case, as prepared by the management of [T-Mobile]” (the “Forecasts”).

Proxy at I-2.

       PJT Partners LP

       46.      With respect to PJT’s Precedent Transactions Analysis, PJT analyzed the valuation

and financial metrics relating to fourteen selected transactions since 2004 involving companies in

the US wireless industry, and derived an implied valuation of $ 6.52 to $8.27 per share for Sprint

common stock based on T-Mobile management forecasts, which is above the value of the offer

price of $6.13 per share as of the date of the Proxy.




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       47.     PJT also performed DCF “analyses of Sprint using both the T-Mobile management

Sprint forecasts and the Sprint management Sprint forecasts.” Proxy at 89. While both DCF

analyses were based on unlevered free cash flow, the Proxy only disclosed levered free cash flow

in the Sprint management Sprint forecasts. In addition, the Proxy fails to disclose any line item

details for unlevered free cash flow in both of the analyses. Also, the Proxy fails to disclose the

inputs used to calculate the WACC or the annual NOL figures that were incorporated into the

analyses. PJT also performed a 4.75 year DCF Analysis based on the Sprint Management Sprint

Forecasts, the implied valuation for Sprint common stock is $7.52 to $10.07 per share which is

above the value of the offer price of $6.13 per share as of the date of the Proxy.

       48.     PJT’s DCF Analysis of T-Mobile was based on unlevered free cash flow, but the

Proxy fails to disclose any line item detail. Also, the Proxy fails to disclose the inputs used to

calculate the WACC or the annual NOL figures that were incorporated into the analysis.

       49.     With respect to PJT’s Contribution Analysis, PJT “reviewed and compared Sprint’s

and T-Mobile’s respective cumulative levered free cash flows.” Proxy at 91. However, the Proxy

fails to disclose T-Mobile’s levered free cash flows.

       50.     Next, PJT performed a “‘Has/Gets’ analysis in order to compare (1) the standalone

DCF-based per share value of T-Mobile to (2) the DCF-based per share value of the combined

company, giving effect to the completion of the merger transactions, in each case from the

perspective of the holders of T-Mobile common stock.” Proxy at 91. However, the Proxy fails to

disclose any line item detail of the unlevered free cash flow either as a standalone T-Mobile

company or a pro forma combined company. Also, the Proxy fails to disclose the inputs used to

calculate the WACC or the annual NOL figures that were incorporated into the analysis.




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       51.     For informational purposes, PJT also performed a discounted analyst price target

analysis based on “publicly available Wall Street research analysts’ standalone share price targets

in the next 12 months for each of Sprint common stock and T-Mobile common stock.” Proxy at

92. However, the Proxy fails to disclose the price targets or the group’s mean or median price

targets for either company. While PJT excluded “each of the highest and lowest standalone share

price targets for each of Sprint common stock and T-Mobile common stock,” the Proxy fails to

disclose any explanation for the exclusions. Id. Again, while PJT discounted the target price, the

Proxy fails to disclose the inputs used to calculate the cost of equity.

       Goldman Sachs & Co. LLC

       52.     Goldman performed an illustrative DCF analysis on Sprint on a “standalone basis

to derive a range of illustrative present values per share of Sprint common stock on a standalone

basis, excluding estimated synergies.” Proxy at 99. The DCF analysis was based on unlevered

free cash flow, but the Proxy fails to disclose any line item details for the unlevered free cash flow

in the analysis. Also, the Proxy fails to disclose the inputs used to calculate the discount rates

ranging from 8.5% to 9.5%. Also, the Proxy fails to disclose the annual NOL figures that were

incorporated into the analysis.

       53.     Next, Goldman performed a Selected Publicly Traded Companies Analysis with

two publicly traded companies in the U.S wireless communications industry by incorporating

Sprint’s NOLs, but the Proxy fails to disclose the annual NOL figures or the inputs used to

calculate the discount rate. While the analysis derived “a range of implied values per share of

Sprint common stock of $5.92 to $7.10 per share” which was based on core EBITDA, the Proxy

fails to disclose such figures with respect to Sprint’s core EBITDA. Proxy at 100.




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       54.     With respect to Goldman’s Selected Precedent Transactions Analysis, the analysis

incorporated Sprint’s NOLs, but the Proxy fails to disclose the annual NOL figures that were

incorporated into the analysis or the inputs used to calculate the discount rate. Similar to the

deficiency of Goldman’s Selected Publicly Traded Companies Analysis, the Proxy fails to disclose

Sprint’s core EBITDA even though the range of implied values per share of Sprint common stock

of $4.17 to 8.26 per share was based on Sprint’s core EBITDA.

       55.     With respect to Goldman’s Premia Paid Analysis, Goldman “analyzed the premia

paid in pending or completed U.S. transactions since 2000 in which the target company had an

equity value based on the transaction consideration that was greater than $10 billion.” Proxy at

102. However, the Proxy fails to disclose the premiums for each of the transactions.

       56.     Next, Goldman performed an Illustrative DCF Analysis “on T-Mobile on a

standalone basis and on the combined company to derive a range of illustrative present values per

share of T-Mobile common stock on a standalone basis and per share of T-Mobile common stock

giving effect to the completion of the merger transactions.” Proxy at 103. Regardless of whether

the analysis is to analyze T-Mobile as a standalone company or as a pro forma company, the

analysis was based on unlevered free cash flow, but the Proxy fails to disclose any line item detail

about the unlevered free cash flow. Also, the Proxy fails to disclose the inputs used to calculate

the discount rates ranging from 7.5% to 8.5%. Also, the Proxy fails to disclose the annual NOL

figures that were incorporated into the analysis.

       Evercore Group L.L.C.

       57.     The Proxy contains materially incomplete and/or misleading information

concerning, inter alia: the financial analyses performed by Evercore Group L.L.C. (“Evercore”),

acting as the financial advisor to T-Mobile’s independent committee. As part of Evercore’s




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fairness opinion to T-Mobile’s independent committee, Evercore reviewed, among other things,

“certain non-public projected financial and operating data relating to the Company prepared and

furnished to us by the management of the Company;” “certain non-public projected financial and

operating data relating to the Company prepared and furnished to us by the management of [T-

Mobile]”; and “certain non-public projected financial and operating data relating to [T-Mobile]

prepared and furnished to us by the management of [T-Mobile].” Proxy at J-2.

       58.     Evercore’s Selected Peer Trading Analysis utilized the estimated core EBITDA of

Sprint and T-Mobile in calculating the companies’ implied values. However, the Proxy fails to

disclose Sprint and T-Mobile’s core EBITDA.

       59.     Next, Evercore performed a DCF analysis of “Sprint to calculate the estimated

present value of the standalone unlevered, after-tax free cash flows that Sprint was projected to

generate from March 31, 2018 through calendar year 2026, based on the T-Mobile management

Sprint forecasts.” Proxy at 112. The Proxy fails to disclose any line item detail of Sprint’s

unlevered free cash flow. The Proxy fails to disclose the basis for the range of perpetuity growth

rates. Also, the Proxy fails to disclose the inputs used to calculate the range of WACC of 6.25%

to 7.25%. Also, the Proxy fails to disclose the annual NOL figures that were incorporated into the

analysis. While Evercore “indicated an implied per share equity value reference range for Sprint

on a standalone basis of approximately $6.71 to $11.49,” per share which is above the value of the

offer price of $6.13 per share as of the date of the Proxy. Id.

       60.     Next, Evercore performed a DCF analysis of “T-Mobile to calculate the estimated

present value of the standalone unlevered, after-tax free cash flows that T-Mobile was projected

to generate from March 31, 2018 through calendar year 2026, based on the T-Mobile management

T-Mobile forecasts.” Id. Although the analysis was based T-Mobile’s unlevered free cash flow,




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the Proxy fails to disclose any line item detail of the unlevered free cash flow. The Proxy fails to

disclose the basis for the range of perpetuity growth rates. Also, the Proxy fails to disclose the

inputs used to calculate the range of discount rates of 6.0% to 7.0%. Also, the Proxy fails to

disclose the annual NOL figures that were incorporated into the analysis.

       61.     With regard to Evercore’s Net Present Value of Future Stock Price Analyses of

Sprint and T-Mobile, the Proxy fails to disclose the inputs used to calculate the WACC of 9.0%

and 8.5% for Sprint and T-Mobile, respectively.

       62.     Evercore performed an Illustrative DCF “Has-Gets” Analysis based on T-Mobile’s

standalone discounted cash flow implied equity value using the T-Mobile management T-Mobile

forecasts and Sprint’s standalone discounted cash flow implied equity value using the T-Mobile

management Sprint forecasts. However, the Proxy fails to disclose the same items as discussed

above concerning T-Mobile and Sprint’s DCF analyses. See ¶¶ 59; 60. The Proxy also fails to

disclose the inputs used to calculate T-Mobile and Sprint’s WACC or the basis for the perpetuity

growth rates. The Proxy fails to disclose the annual synergy figures or the annual NOL figures

regarding the Sprint restructuring charges.

       63.     For informational purposes, Evercore “reviewed public available share price targets

of research analysts’ estimates known to Evercore as of April 26, 2018” for T-Mobile and Sprint.

Proxy at 114. However, the Proxy fails to disclose the price targets of the research analysts, and

the mean or median price targets of the group of research analysts. The Proxy fails to disclose the

names of the research analysts and their respective research firms.

       64.     For informational purposes, Evercore performed a precedent premia analysis by

analyzing the “premia paid in all-stock transactions above $5 billion over the past ten years.” Id.

However, the Proxy fails to disclose each of the transactions’ premium or their low, mean, median




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or high premiums. While the analysis “indicated a per share equity value reference range of

approximately $6.90 to $7.20 for Sprint” the Proxy fails to disclose why the equity value reference

range is above the Merger Consideration of $6.62 per share in the Proposed Transaction. Id.

       65.     The non-disclosed information discussed above, would be material to Sprint

shareholders in deciding how to vote their shares, as the real informative value of the financial

advisor’s work is not in its conclusion, but in the valuation analyses that buttress that result. When

a financial advisor’s endorsement of the fairness of a transaction is touted to shareholders, the

valuation methods used to arrive at that opinion, as well as the key multiples and range of multiples

used in those analyses, must also be fairly disclosed.

       66.     Further, the non-disclosed information discussed above prevents shareholders from

understanding the context of the figures or consider whether any of the inputs thereto or ranges

derived therefrom are anomalous. Absent this information, Sprint shareholders are unable to

determine whether the Proposed Transaction is indeed fair and in their best interest.

       67.     Without the foregoing material disclosures, Sprint shareholders are unable to fully

understand and interpret financial analyses by Raine; J.P. Morgan; and/or Centerview or the

fairness of the Merger Consideration when determining whether to vote in favor of the Proposed

Transaction.

       68.     There are also material omissions in the Proxy concerning the process leading up

to the Merger, in respect to the various nondisclosure agreements (“NDAs”) entered into by Sprint

and various parties.

       69.     For example, at the beginning of the background and chronology of events that led

to the Proposed Transaction, the Proxy states that “T-Mobile, Deutsche Telekom, Sprint and

Softbank entered into a nondisclosure agreement in connection with” “discussions from time to




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time regarding a possible business combination between T-Mobile and Sprint.” Proxy at 62. As

part of the process, the Proxy also states that in late June 2017, SoftBank, Sprint, Company A and

Company B “entered into a nondisclosure agreement in connection with discussions of a potential

strategic transaction.” Proxy at 64. Subsequently, in July 2017, SoftBank and one of Company

A’s largest shareholders, Shareholder X “entered into a nondisclosure agreement in connection

with discussions of a possible business combination between Sprint and Company A, and Sprint

subsequently became a party to such nondisclosure agreement.” Id. In December 2017, as part of

“a possible business combination between Sprint and Company C,” “Sprint and Company C

entered into a nondisclosure agreement.” Proxy at 67.

        70.     However, the Proxy fails to disclose the material terms of the NDAs as it is relevant

to shareholders to know whether certain potential acquirers received different terms in their

respective NDAs. Significantly, the Proxy fails to disclose whether the NDA entered into by T-

Mobile is the same NDAs entered into by other potential acquirers including Company A;

Shareholder X; Company B; and Company C. Thus, it is unclear whether T-Mobile received

certain and/or additional rights in its NDA, not given to other potential acquirers that signed their

respective NDAs.

        71.     Without the terms of the NDAs disclosed, it is difficult for shareholders to

determine whether parties such as Company A; Shareholder X; Company B and Company C to

these agreements were provided with the same right to submit confidential proposals following

news of a definitive merger agreement, or whether these NDAs contained standstill provisions,

and if so, whether the standstill provisions had don’t-ask-don’t-waive (“DADW”) provisions1


1
  A DADW provision prohibits potential acquirors from even asking the target to waive the standstill
prohibitions to allow them to submit topping bids. Several courts have noted that DADW provisions violate
a target board’s duty to act reasonably, in an informed matter, and in furtherance of the goal of seeking the
highest possible sales price, and therefore have ordered injunctive relief when a danger existed that such


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and/or sunset provisions, or whether the counterparties could seek a waiver of such standstills to

make an unsolicited offer to acquire the Company.

        72.     If these NDAs entered into by certain potential acquirers contained standstill

provisions, these parties are likely prohibited from coming forward with a topping bid if waivers

do not exist in the NDAs.

        73.     The omission of the details regarding these NDAs in the Proxy renders it materially

misleading because it gives the false impression that the counterparties who had entered into

negotiations with the Company prior to its signing of the Merger Agreement have the ability to

come forward with a topping bid, when they may, in fact, be contractually prohibited from doing

so. Thus, the omission of this information renders all references to the NDAs in the Proxy

materially false and misleading.

        74.     Without the foregoing material information, the Company’s shareholders will not

be able to fully understand and interpret the financial analyses, including their impact on the

fairness of the Merger Consideration, when determining whether to vote in favor of the Proposed

Transaction.

                                CLASS ACTION ALLEGATIONS

        75.     Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of himself and the other public shareholders of Sprint (the “Class”). Excluded from the Class are

Defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated

with any of the Defendants.

        76.     This action is properly maintainable as a class action for the following reasons:




clauses prevented superior bids from arising.


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                a.     The Class is so numerous that joinder of all members is impracticable. As

of August 6, 2018, there were 4 billion shares of Sprint common stock outstanding, held by

hundreds, if not thousands, of individuals and entities scattered throughout the country.

                b.     Questions of law and fact are common to the Class, including, among

others: (i) whether Defendants have violated Sections 14(a) and 20(a) of the Exchange Act in

connection with the Proposed Transaction; and (ii) whether Plaintiff and the Class would be

irreparably harmed if the Proposed Transaction is consummated as currently contemplated and

pursuant to the Proxy as currently composed.

                c.     Plaintiff is an adequate representative of the Class, has retained competent

counsel experienced in litigation of this nature, and will fairly and adequately protect the interests

of the Class.

                d.     Plaintiff’s claims are typical of the claims of the other members of the Class

and Plaintiff does not have any interests adverse to the Class.

                e.     The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual members of

the Class which would establish incompatible standards of conduct for the party opposing the

Class.

                f.     A class action is superior to other available methods for fairly and

efficiently adjudicating this controversy.

                g.     Defendants have acted, or refused to act, on grounds generally applicable to

the Class as a whole, and are causing injury to the entire Class. Therefore, preliminary and final

injunctive relief on behalf of the Class as a whole is entirely appropriate.




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                                      CAUSES OF ACTION

                                             COUNT I

                   Claim for Violation of Section 14(a) of the Exchange Act
                          and Rule 14a-9 Promulgated Thereunder
                                  (Against All Defendants)

          77.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          78.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person . . . to

solicit or to permit the use of his name to solicit any proxy or consent or authorization in respect

of any security (other than an exempted security) registered pursuant to section 78l of this title.”

15 U.S.C. § 78n(a)(1).

          79.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that solicitation communications with shareholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9(a).

          80.   Rule 14a-9 further provides that, “[t]he fact that a proxy statement, form of proxy

or other soliciting material has been filed with or examined by the Commission shall not be deemed

a finding by the Commission that such material is accurate or complete or not false or misleading,

or that the Commission has passed upon the merits of or approved any statement contained therein

or any matter to be acted upon by security holders. No representation contrary to the foregoing

shall be made.” 17 C.F.R. § 240.14a-9(b).

          81.   As discussed herein, the Proxy misrepresents and/or omits material facts

concerning the Merger.




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       82.     Defendants prepared, reviewed, filed and disseminated the false and misleading

Proxy to Sprint shareholders. In doing so, Defendants knew or recklessly disregarded that the

Proxy failed to disclose material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading.

       83.     The omissions and incomplete and misleading statements in the Proxy are material

in that a reasonable shareholder would consider them important in deciding how to vote their

shares. In addition, a reasonable investor would view such information as altering the “total mix”

of information made available to shareholders.

       84.     By virtue of their positions within the Company and/or roles in the process and in

the preparation of the Proxy, Defendants were undoubtedly aware of this information and had

previously reviewed it, including participating in the Merger negotiation and sales process and

reviewing the complete financial analyses by Raine; J.P. Morgan; and Centerview purportedly

summarized in the Proxy.

       85.     The Individual Defendants undoubtedly reviewed and relied upon the omitted

information identified above in connection with their decision to approve and recommend the

Merger.

       86.     Sprint is deemed negligent as a result of the Individual Defendants’ negligence in

preparing and reviewing the Proxy.

       87.     Defendants knew that Plaintiff and the other members of the Class would rely upon

the Proxy in determining whether to vote in favor of the Merger.

       88.     As a direct and proximate result of Defendants’ unlawful course of conduct in

violation of Section 14(a) of the Exchange Act and Rule 14a-9, absent injunctive relief from the




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Court, Plaintiff and the other members of the Class will suffer irreparable injury by being denied

the opportunity to make an informed decision as to whether to vote in favor of the Merger.

          89.   Plaintiff and the Class have no adequate remedy at law.

                                             COUNT II

                   Claim for Violations of Section 20(a) of the Exchange Act
                             (Against the Individual Defendants)

          90.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          91.   The Individual Defendants acted as controlling persons of Sprint within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Sprint, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy filed with the

SEC, they had the power to influence and control and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading.

          92.   Each of the Individual Defendants were provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          93.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

alleged herein, and exercised the same. The Proxy contains the unanimous recommendation of




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each of the Individual Defendants to approve the Merger. They were thus directly connected with

and involved in the making of the Proxy.

       94.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons and the acts described herein, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act.

       95.     As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will

be irreparably harmed.

       96.     Plaintiff and the Class have no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Ordering that this action may be maintained as a class action and certifying Plaintiff

as the Class Representative and Plaintiff’s counsel as Class Counsel;

       B.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       C.      Directing the Individual Defendants to disseminate an Amendment to the

Company’s Proxy that does not contain any untrue statements of material fact and that states all

material facts required in it or necessary to make the statements contained therein not misleading;

       D.      Directing Defendants to account to Plaintiff and the Class for their damages

sustained because of the wrongs complained of herein;

       E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and




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      F.      Granting such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.


DATED: September 28, 2018                     Respectfully submitted,
                                              EDGAR LAW FIRM LLC

                                                /s/ John F. Edgar

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